                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CRIMINAL DOCKET NO.: 3:99CR165

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                       ORDER
THURMAN MOBLEY (8),                 )
                                    )
            Defendant.              )
___________________________________ )

       THIS MATTER is before the Court on its own Motion. On December 7, 2001, this

Defendant was sentenced by the Court to 170 months imprisonment. Judgment was entered on

February 1, 2002. On August 16, 2006, the United States Court of Appeals for the Fourth Circuit

vacated Defendant’s sentence and remanded for resentencing pursuant to United States v.

Booker, 543 U.S. 220 (2005) and United States v. Hughes, 401 F.3d 540 (4th Cir. 2005). The

Mandate issued on September 11, 2006.

       Pursuant to the Fourth Circuit’s Order, this Court has scheduled Defendant’s resentencing

for October 26, 2006. However, the Court has been advised that the attorney appointed to

represent Defendant for purposes of his appeal is not authorized to practice in the Western

District of North Carolina. Consequently, the Court must appoint new counsel to represent

Defendant for purposes of his resentencing.

       IT IS, THEREFORE, ORDERED that the Federal Community Defenders Office

appoint new counsel to represent Defendant for purposes of resentencing.

       The Clerk is directed to send copies of this Order to defense counsel, Defendant, the

United States Attorney, and the Federal Community Defenders Office.




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                               Signed: September 26, 2006




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